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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )         4:06CR3062
                                            )
                    Plaintiff,              )
                                            )
      vs.                                   )
                                            )         ORDER
ROBERT BERLIE,                              )
                                            )
                    Defendant.              )

      On the oral motion of defense counsel,

       IT IS ORDERED that Defendant Berlie’s revocation hearing is continued to Friday,
October 3, 2008, at 3:00 p.m., before the undersigned United States district judge, in
Courtroom No. 1, United States Courthouse and Federal Building, 100 Centennial Mall
North, Lincoln, Nebraska. The defendant shall be present unless excused by the court.

      September 24, 2008.                BY THE COURT:

                                         s/ Richard G. Kopf
                                         United States District Judge
